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          In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 16-0583V
                                     Filed: February 15, 2017
                                            Unpublished


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JOHN SWAN,                                *
                                          *
                     Petitioner,          *      Petitioner’s Motion for a Decision
                                          *      Dismissing His Petition; Influenza (“Flu”)
              v.                          *      Vaccine; Shoulder Injury; Insufficient
                                          *      Proof of Causation; Vaccine Act
SECRETARY OF HEALTH AND                   *      Entitlement; Denial Without Hearing
HUMAN SERVICES,                           *      Special Processing Unit (“SPU”)
                                          *
                     Respondent.          *
                                          *
****************************
Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for petitioner.
Gordon E. Shemin, U.S. Department of Justice, Washington, DC, for respondent.

                                               DECISION      1


Dorsey, Chief Special Master:

         On May 17, 2016, John Swan (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq. 2 (the “Vaccine Act” or “Program”). 3 Petitioner alleges that he suffered an injury to
his left shoulder as a result of an influenza vaccination he received on September 17,
2014. Petition at ¶¶ 2, 4. The information in the record does not show entitlement to an
award under the Program.


1 Because this unpublished decision contains a reasoned explanation for the action in this case, the

undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012)(Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
3   The case was assigned to the Special Processing Unit (“SPU”) of the Office of Special Masters.
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        On February 14, 2017, petitioner moved for a decision dismissing his petition,
acknowledging that insufficient evidence exists to demonstrate entitlement to
compensation. (ECF No. 20). Petitioner indicated in his motion that “[a]n investigation
of the facts and science supporting his case ha[s] demonstrated to petitioner that he will
be unable to prove that he is entitled to compensation in the Vaccine Program.” Id.
Petitioner further indicated that he “understands that a decision by the [undersigned]
dismissing his petition will result in a judgment against him. [He] has been advised that
such a judgment will end all of his rights in the Vaccine Program.” Id.

       To receive compensation under the Program, petitioner must prove either 1) that
he suffered a “Table Injury” – i.e., an injury falling within the Vaccine Injury Table –
corresponding to a covered vaccine, or 2) that he suffered an injury that was actually
caused by a covered vaccine. See §§ 13(a)(1)(A) and 11(c)(1). Examination of the
record does not disclose any evidence that petitioner suffered a “Table Injury.” Further,
the record does not contain a medical expert’s opinion or any other persuasive evidence
indicating that petitioner’s alleged injury was vaccine-caused.

       Under the Vaccine Act, a petitioner may not be awarded compensation based on
the petitioner’s claims alone. Rather, the petition must be supported by either the
medical records or by a medical opinion. § 13(a)(1). In this case, the record does not
contain medical records or a medical opinion sufficient to demonstrate that the vaccinee
was injured by a vaccine. For these reasons, and in accordance with § 12(d)(3)(A),
petitioner’s claim for compensation is DENIED and this case is DISMISSED for
insufficient proof. The Clerk shall enter judgment accordingly. 4

IT IS SO ORDERED.

                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master




4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
                                                      2
